                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


VERNARD BROOKS,

               Plaintiff,

       vs.                                                   Case No. 2:17-cv-00659-WED

COMMUNITY MEMORIAL HOSPITAL
OF MENOMONEE FALLS, INC. and
FROEDTERT HEALTH, INC.

               Defendants.


                               STIPULATION FOR DISMISSAL


       WHEREAS the parties in the above-captioned matter have reached a confidential and

comprehensive settlement agreement resolving the matter in its entirety, they, by their respective

counsel, hereby stipulate to the dismissal of the above-captioned matter on its merits, with

prejudice, and without costs to either side.

Dated: August 22, 2018



s/ Devin S. Hayes                                 s/_Adam M. Kent _______________________
VON BRIESEN & ROPER, S.C.                         LAW OFFICE OF ADAM M. KENT
Doris E. Brosnan                                  Adam M. Kent
DBrosnan@vonbriesen.com                           attorney@adamkentlegal.com
Devin S. Hayes                                    7670 N. Port Washington Road
DHayes@vonbriesen.com                             Milwaukee, Wisconsin 53217
411 East Wisconsin Avenue, Suite 1000             Phone: 414-446-5331
Milwaukee, WI 53202                               Fax: 888-509-8232
Phone: 414-287-1483                               Attorney for Plaintiff, Vernard Brooks
Fax: 414-276-6281
Attorneys for Defendant, Community Memorial
Hospital and Froedtert Health, Inc.




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